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10   Attorney for Defendant Nichols Ramirez
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14                           IN THE UNITED STATES DISTRICT COURT
15
16                        FOR THE EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,           )                Case No. 2:11-CR-190 MCE
19                                       )
20               Plaintiff,              )                STIPULATION FOR CONTINUANCE
21                                       )                OF STATUS CONFERENCE AND
22                                       )                ORDER
23               v.                      )
24                                       )
25   NICHOLS RAMIREZ and TIFFANY         )
26   BROWN,                              )
27                                       )
28         Defendants.                   )
29   ____________________________________)
30
31          It is stipulated between the United States Attorney’s Office for the Eastern District of
32   California by Assistant United States Attorney Jason Hitt, Esq. and Defendant Nichols Ramirez
33   through his attorney Philip Cozens, Esq. that:
34          The Status Conference currently scheduled for February 7, 2019 at 10:00 a.m. in Judge
35   England’s Court be re-scheduled for March 28, 2019 at 10:00 a.m. in Judge England’s Court.
36   The stipulated continuance is necessary because Defendant Nichols Ramirez’s attorney requires
37   additional time to review the discovery in this matter and negotiate with the Government.
38          Time should be excluded for defense attorney preparation pursuant to Local Code T4
39   and the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial.




     STIPULATION RE STATUS CONFERENCE AND ORDER                                                 Page 1
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1    Time should be excluded from speedy trial calculations from February 7, 2019 through and
2    including March 28, 2019.
3           It is so stipulated.
4    Dated: February 5, 2019                       /s/ Jason Hitt, Esq.____________
5                                                  Jason Hitt, Esq.
6                                                  Assistant United States Attorney
7                                                  Eastern District of California
8
 9
10                                                 /s/ Philip Cozens_________________
11                                                 Philip Cozens
12                                                 Attorney for Defendant
13                                                 Nichols Ramirez
14
15                                               ORDER
16          The court, having read and considered the above-stipulation and finding good cause
17   therefore, orders that the Status Conference currently scheduled for February 7, 2019 at 10:00
18   a.m. in Judge England’s Court be re-scheduled for March 28, 2019 at 10:00 a.m. in Judge
19   England’s Court. Time is excluded for defense attorney preparation pursuant to Local Code T4
20   and the court finds the ends of justice outweigh the Defendant’s and the public’s interest in a
21   speedy trial. Time will be excluded from speedy trial calculations from February 7, 2019
22   through and including March 28, 2019.
23          IT IS SO ORDERED.
24   Dated: February 6, 2019
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     STIPULATION RE STATUS CONFERENCE AND ORDER                                                 Page 2
